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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al., 1                                  Case No. 22-11068 (JTD)

         Debtors.                                             (Jointly Administered)

                                                              Hearing Date: April 17, 2025 at 10:00 a.m. ET
                                                              Objection Deadline: January 31, 2025 at 4:00 p.m. ET



                               NOTICE OF FINAL FEE APPLICATION

         TO:         (a) the Office of the United States Trustee; (b) counsel to the Official Committee
                     of Unsecured Creditors; (c) the Fee Examiner and (d) all other parties required to
                     be given notice pursuant to the Order Establishing Procedures for Interim
                     Compensation and Reimbursement of Expenses of Professionals [D.I. 435] (the
                     “Interim Compensation Order”).

               On the date hereof, Sullivan & Cromwell LLP (“S&C”) filed the Final Fee
Application of Sullivan & Cromwell LLP (the “Application”) 2 with the United States Bankruptcy
Court for the District of Delaware.

               Objections (the “Objections”), if any, to the Application must be served on the
following parties so as to be received no later than 4:00 p.m. ET on January 31, 2025 (the
“Objection Deadline”):

                     (i) counsel to the Debtors, (a) Sullivan & Cromwell LLP, 125 Broad Street, New
                     York, New York 10004, Attn: Brian D. Glueckstein
                     (gluecksteinb@sullcrom.com) and (b) Landis Rath & Cobb LLP, 919 Market
                     Street, Suite 1800, Wilmington, DE 19801, Attn: Adam G. Landis
                     (landis@lrclaw.com) and Kimberly A. Brown (brown@lrclaw.com); (ii) counsel
                     to the Committee, (a) Paul Hastings LLP, 200 Park Avenue, New York, New
                     York 10166, Attn: Kris Hansen (krishansen@paulhastings.com), Erez Gilad
                     (erezgilad@paulhastings.com) and Gabriel Sasson
                     (gabesasson@paulhastings.com) and (b) Young Conaway Stargatt & Taylor, LLP,

1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
    Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the
    Application.



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                     Rodney Square, 1000 North King Street, Wilmington, Delaware 19801, Attn:
                     Matthew B. Lunn (mlunn@ycst.com) and Robert F. Poppiti, Jr.
                     (rpoppiti@ycst.com); (iii) the U.S. Trustee, 844 King Street, Suite 2207,
                     Wilmington, Delaware 19801, Attn: Linda Richenderfer
                     (linda.richenderfer@usdoj.gov); and (iv) the Fee Examiner and her proposed
                     counsel, Godfrey & Kahn, S.C., One East Main Street, Suite 500, Madison,
                     Wisconsin 53701, Attn: Katherine Stadler and Mark Hancock
                     (FTXFeeExaminer@gklaw.com).

            A HEARING ON THE FINAL FEE APPLICATION WILL BE HELD ON
APRIL 17, 2025 AT 10:00 A.M. (ET) BEFORE THE HONORABLE JOHN T. DORSEY,
UNITED STATES BANKRUPTCY COURT JUDGE, IN THE UNITED STATES
BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 NORTH MARKET
STREET, 5TH FLOOR, COURTROOM NO. 5, WILMINGTON, DELAWARE 19801.

          IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF REQUESTED IN THE APPLICATION WITHOUT
FURTHER NOTICE OR HEARING.




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Dated: January 10, 2025                LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                       /s/ Kimberly A. Brown
                                       Adam G. Landis (No. 3407)
                                       Kimberly A. Brown (No. 5138)
                                       Matthew R. Pierce (No. 5946)
                                       919 Market Street, Suite 1800
                                       Wilmington, Delaware 19801
                                       Telephone: (302) 467-4400
                                       Facsimile: (302) 467-4450
                                       E-mail: landis@lrclaw.com
                                               brown@lrclaw.com
                                               pierce@lrclaw.com

                                       -and-

                                       SULLIVAN & CROMWELL LLP
                                       Andrew G. Dietderich (admitted pro hac vice)
                                       James L. Bromley (admitted pro hac vice)
                                       Brian D. Glueckstein (admitted pro hac vice)
                                       Christian P. Jensen (admitted pro hac vice)
                                       125 Broad Street
                                       New York, NY 10004
                                       Telephone: (212) 558-4000
                                       Facsimile: (212) 558-3588
                                       E-mail: dietdericha@sullcrom.com
                                               bromleyj@sullcrom.com
                                               gluecksteinb@sullcrom.com
                                               jensenc@sullcrom.com


                                       Counsel for the Debtors and Debtors-in-Possession




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